Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 1 of 32
9/1/21, 10:56 AM   Case 1:21-cv-03750-WMR-CCB Document       5-5 - 2014CV242753
                                               Register of Actions Filed 09/17/21 Page 2 of 32


                                                                EJ7

                                                     Case Summary
                                                 Case No. 2014CV242753


   JANET HILL VS. AMERICAS                                         § Location
   WHOLESALE LENDER, THE BANK OF                                   § EJ7
   NEW YORK MELLON F/K/A THE BANK                                  § Judicial Officer
   OF NEW YORK, AS TRUSTEE FOR THE                                 § WRIGHT, CYNTHIA
   CERTIFICATEHOLDERS OF CWALT,                                    § Filed on
   INC., ALTERNATIVE LOAN TRUST 2005-                              § 02/24/2014
   58, MORTGAGE PASS-THROUGH
   CERTIFICATES, SERIES 2005-58,
   MORTGAGE ELECTRONIC
   REGISTRATION SYSTEMS INC,
   BAYVIEW LOAN SERVICING LLC AND
   SHUPING MORSE & ROSS LLP



                                                    Case Information

                                                                                     Case Type: TORT/NEGLIGENCE
                                                                                    Case Status: 06/04/2014 Closed
 Related Cases
 2014CV244301 (SYSTEM AUTO RELATED)

 Statistical Closures
 06/04/2014 Judgment on Pleading
 06/04/2014 Do Not Report




                                                    Party Information

                                                                                            Lead Attorneys

   PLAINTIFF             HILL, JANET                                                        ROBERTS, GRADY
                                                                                            ALEXANDER III.
                                                                                            Retained

   DEFENDANT AMERICAS WHOLESALE LENDER



https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/9B85FC9513485D08548FB4F581964BF71C30756527B64C04D6036DC831…   1/4
9/1/21, 10:56 AM   Case 1:21-cv-03750-WMR-CCB Document       5-5 - 2014CV242753
                                               Register of Actions Filed 09/17/21 Page 3 of 32

                         BAYVIEW LOAN SERVICING LLC

                         MORTGAGE ELECTRONIC
                         REGISTRATION SYSTEMS INC

                         SHUPING MORSE & ROSS LLP                                           KOTAKE, KYLE S.
                                                                                            Retained

                         THE BANK OF NEW YORK MELLON



                                         Events and Orders of the Court

   04/23/2015
                       JUDGMENT ORDER ON REMITTITUR
   04/20/2015
                       COURT OF APPEALS REMITTITUR
   04/02/2015
                       COURT OF APPEALS ORDER
   02/24/2015
                       NOTICE OF DOCKETING
   01/27/2015          RECORD TRANSMITTED TO COURT OF APPEALS
   01/16/2015
                       APPELLATE INDEX
   01/14/2015
                       COST BILL PAID
   07/02/2014
                       RETURN RECEIPT OF CERT MAIL
   06/09/2014
                       COST BILL
   06/05/2014
                       NOTICE OF APPEAL
                         Party: PLAINTIFF HILL, JANET
   06/04/2014
                       FINAL ORDER
   06/04/2014         FINAL ORDER (Judicial Officer: WRIGHT, CYNTHIA)

   04/29/2014
                       CERTIFICATE OF SERVICE


https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/9B85FC9513485D08548FB4F581964BF71C30756527B64C04D6036DC831…   2/4
9/1/21, 10:56 AM   Case 1:21-cv-03750-WMR-CCB Document       5-5 - 2014CV242753
                                               Register of Actions Filed 09/17/21 Page 4 of 32

   04/28/2014
                       RESPONSE
   04/21/2014
                       ORDER
   03/27/2014
                       ANSWER
   03/25/2014
                       MOTION TO DISMISS
   03/25/2014

 MEMORANDUM
  Party: DEFENDANT AMERICAS WHOLESALE LENDER;
         DEFENDANT BAYVIEW LOAN SERVICING LLC;
         DEFENDANT MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC;
         DEFENDANT THE BANK OF NEW YORK MELLON


   03/25/2014

 ANSWER OF DEFENDANT
   Party: DEFENDANT AMERICAS WHOLESALE LENDER;
          DEFENDANT BAYVIEW LOAN SERVICING LLC;
          DEFENDANT MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC;
          DEFENDANT SHUPING MORSE & ROSS LLP;
          DEFENDANT THE BANK OF NEW YORK MELLON


   03/11/2014
                       MOTION
   03/05/2014
                       AFFIDAVIT OF SERVICE
   03/05/2014
                       AFFIDAVIT OF SERVICE
   02/26/2014
                       AFFIDAVIT OF SERVICE
   02/26/2014
                       AFFIDAVIT OF SERVICE
   02/24/2014
                       CASE INITIATION FORM
                         Party: PLAINTIFF HILL, JANET
   02/24/2014
                       PLAINTIFF'S ORIGINAL PETITION
                         Party: PLAINTIFF HILL, JANET

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/9B85FC9513485D08548FB4F581964BF71C30756527B64C04D6036DC831…   3/4
9/1/21, 10:56 AM   Case 1:21-cv-03750-WMR-CCB Document       5-5 - 2014CV242753
                                               Register of Actions Filed 09/17/21 Page 5 of 32




                                                 Financial Information

                       PLAINTIFF        HILL, JANET
                       Total Financial Assessment                                                                       379.00
                       Total Payments and Credits                                                                       379.00
                       Balance Due as of 9/1/2021                                                                        0.00




https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/9B85FC9513485D08548FB4F581964BF71C30756527B64C04D6036DC831…   4/4
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 6 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 7 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 8 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 9 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 10 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 11 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 12 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 13 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 14 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 15 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 16 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 17 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 18 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 19 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 20 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 21 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 22 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 23 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 24 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 25 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 26 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 27 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 28 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 29 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 30 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 31 of 32
Case 1:21-cv-03750-WMR-CCB Document 5-5 Filed 09/17/21 Page 32 of 32
